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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                            INDICTMENT

                     Plaintifl                        18   U.S.C.   S3
                                                      18   U.S.C.   S   8aa(c)
       v.                                             18   U.S.C.   S 844(i)
                                                      18   U.S.C.   S 853(p)
 JOSE A. FEI,AN, JR.,   ANd                           18   U.S.C.   S e82(a)(2)(B)
 MENA D. YOUSIF,                                      18   u.s.c.   s e82&)(1)
                                                      28   U.S.C. $ 2461(c)
                     Defendants.

      THE UNITED STATES GRAND JURY CHARGES TIIAT:

                                      COUNT       1
                                        (Arson)

      On or about May 28, 2020, in the State and District of Minnesota, the

defendant,

                                 JOSE A. FELAN, JR.,

maliciously damaged and destroyed, and attempted to damage and destroy, by means

of fire, a building used in interstate or foreign commerce and              in activity affecting
interstate or foreign commerce, namely, the Goodwill retail store located at 1239

University Avenue West, in St. Paul, Minnesota, all in violation of Title 18, United

States Code, Section 844(i).

                                      COUNT       2
                               (Accessory Afber the Fact)

      On or about May 28, 2020, through the present, in the State and District of

Minnesota and elsewhere, the defendant,

                                  MENA D. YOUSIF.                                      SCANhEHD
                                                                                        JUN 1? 2020 I
                                                                                     U.S, DISTRICT COURT MPLS
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United States v. Jose A. Felan. Jr.. et aI.
                                                                                          Dl   Crl   $cx

knowing that an offense against the lJnited States had been committed, to wit, arson

as set forth   in Count 1, did receive, relieve, comfort, and assist the offender,   Jose A.

Felan, Jr., in order to hinder and prevent the offender's apprehension, trial, and

punishment, all in violation of Tit1e 18, United States Code, Section    3.

                                FORFEITURE ALLEGATIONS

        If convicted of Count 1 of this Indictment, the defendant, JOSE A. FELAN,
JR., shall forfeit to the United States of America, pursuant to Title 18, United States

Code, Section 982(aX2XB), any property constituting,          or derived from,     proceeds

obtained, directly or indirectly, as a result of such violation, and pursuant to Title 18,

United States Code, Section 844(c) and Title 28, United States Code, Section 246L(c),

any explosive materials involved or used or intended to be used in the violation.

        If any of the above-described forfeitable property is unavailable for forfeiture,
the United States intends to seek the forfeiture of substitute property as provided. for

in Title 21, United States Code, Section 853(p), as incorporated by Title 18, United

States Code, Section 982(b)(1) and Title 28, United States Code, Section 2aGI@).



                                              A TRUE BILL




UNITED STATES ATTORNEY                                FOREPERSON



                                                                                   $cntqNrn
                                                                                   JUN 1?      2020
                                                                                             COUNT MPLS
                                                                               U.S. DISTRICT

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